                                Case 24-22209-LMI                    Doc 22            Filed 01/08/25               Page 1 of 8

 Fill 111 this 1nformat1on to 1dent1fy your case
                                                                                                                                     t:"1L£0-USBC, FLS-MIA
  Debtor 1         GLORIA
                    FlrstNamo
                                            STELLA
                                             Mldde Name
                                                                    RAMIREZ                                                          • ,. '25 JAN 8 n,1:29
                                                                         Last Name

  Debtor2                                                                                                                                        ~
  (Spouse, ~ filing) Fnt Name                Mlddle Name                 last Name


  United States Bankruptcy Court for the: Southern District of Florida

  Case number       24-22209-LMI                                                                                                          0 Check if this is an
  (If known)
                                                                                                                                             amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04122

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/8: Property (Official Form 106NB) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory llmit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you clalm an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


•iii            Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      □ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      if You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you clalm as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the      Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/8 that lists this property               portion you own
                                                           Copy the value from       Check only one box for each exemption.
                                                           Schedule AIB

      Brief                                                                                                                   Florida Statute § § 222.25
      description:          2007 Ford                      $800.00                   □ $ _ __        _
                                                                                     0 100% affair market value, up to        (4))
      Line from
      Schedule AIB:         3.1                                                         any applicable statutory limit


      Brief
      description:          Used Personal Items            $500.00                   □ $ _ __ __                              Florida Statutes§ 222.25
      Line from                                                                      0 100% of fair market value, up to
                    ~                                                                   any applicable statutory limit
      Schedule A/8:

      Brief
                                                           $_ _ _ _ __               0$ _ _ __
      description:
      Line from                                                                      □ 100% of fair market value, up to
      Schedule A/B:                                                                     any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     e' No
     □ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          □      No
          □      Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                           page 1 of..!..
                         Case 24-22209-LMI                      Doc 22         Filed 01/08/25               Page 2 of 8
Debtor 1      GLORIA                      STELLA               RAMIREZ                       Case number ("'nown) 24-22209-LMI
              Am Name       Middle Name        Lasl Name




■,,, Additional Page
      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief
                                                       $_ _ _ _ _ __          0$ _ _ __
     description:
     Line from                                                                0 100% of fair market value, up to
     Schedule AIB:                                                               any applicable statutory limit

     Brief
                                                       $_ _ _ _ _ __          0$ _ _ __
     description:
     Line from
                                                                              0 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit


     Brief
     description:
                                                       $_ _ _ _ _ __          0$ _ _ __
     Line from
                                                                              0 100% of fair market value, up to
     Schedule A/8:                                                               any applicable statutory limit


     Brief
                                                       $_ _ _ _ _ __          0$ _ _ __
     description:
     Line from
                                                                              0 100% affair market value, up to
     Schedule A/8:                                                               any applicable statutory limit

     Brief
                                                       $_ _ _ _ __            0$ _ _ __
     description:
     Line from
                                                                              0 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit


     Brief
                                                       $_ _ _ _ _ _ _         0$ _ _ __
     description:
     Line from
                                                                              0 100% of fair market value, up to
     Schedule A/B:                                                               any applicable statutory limit

     Brief
                                                       $_ _ _ _ __            0$ _ _ __
     description:
     Line from
                                                                              0 100% of fair market value, up to
     Schedule A/8:                                                               any applicable statutory limit

     Briof
                                                       $_ _ _ _ __            0$ _ _ __
     description:
     Line from
                                                                              0 100% affair market value, up to
                                                                                 any applicable statutory limit
     Schedule A/8:

     Brief
                                                           $_ _ _ _ __        0$ _ _ __
     description:
     Line from
                                                                              0 100% of fair market value, up to
                                                                                 any applicable statutory limit
     Schedule AIB:

     Brief
                                                           $_ _ _ _ __        0$ _ _ __
     description:
     Line from
                                                                              0 100% of fair market value, up to
                                                                                 any applicable statutory limit
     Schedule A/8:

     Brief                                                 $_ _ __ _ __
     description:                                                             0$ _ _ __
     Line from
                                                                              0 100% of fair market value, up to
                                                                                 any applicable statutory limit
     Schedule A/8:


     Brief
                                                       $_ _ _ _ __            0$ _ _ __
     description:
     Line from
                                                                              0 100% of fair market value, up to
                                                                                 any applicable statutory limit
     Schedule A/8:


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                      page.?__of .1._
                                  Case 24-22209-LMI                   Doc 22            Filed 01/08/25              Page 3 of 8


   Fill in this mformat1on to 1dent1fy your ca se

   Debtor 1         GLORIA                  STELLA                        RAMIREZ
                     First Name                Middle Name                Last Name                      Check if this is:
   Debtor2                                                                                               □ An amended filing
   (Spouse, ~ filing) ,.., Name                Middle Name                Last Name
                                                                                                         0 A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Southern District of Florida                                      expenses as of the following date:
   Case number 24-22209-LMI                                                                                  MM/ DD/ YYYY
    (If known)



 Official Form 106J .
 -------------
 Sch e du I e J: Your Expenses                                                                                                                         12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space Is needed, at\3ch another sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.

                    Describe Your Household

 1. Is this a joint case?                 "'
    S No. Go to line 2.
    D Yes. Does Debtor 2 live In a separate household?
                 D No
                 0 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                 (ii' No                                   Dependent's relationship to             Dependent's    Does dependent live
    Do not list Debtor 1 and                D Yes. Fill out this information for      Debtor 1 or Debtor 2                    age            with you?
    Debtor 2.                                    each dependent.. ........................ - - - - - - - - - - -
                                                                                                                                             0 No
    Do not state the dependents'
    names.                                                                                                                                   D Yes
                                                                                                                                             0 No
                                                                                                                                             D Yes
                                                                                                                                             D No
                                                                                                                                             D Yes
                                                                                                                                             0 No
                                                                                                                                             0 Yes
                                                                                                                                             □ NO
                                                                                                                                             D Yes
 3. Do your expenses include          if No
    expenses of people other than
    yourself and y~ur d_e pend~nts?__ 0 Yes

•ifI             Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
  expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
  applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                           Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                $_ _ _ _1_,5_00_._00_
      any rent for the ground or lot.                                                                                   4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                          4a.     $_ _ _ _ _ _ _ __

      4b.    Property, homeowner's, or renter's insurance                                                               4b.     $_ _ _ _ _ _ __

      4c.    Home maintenance, repair, and upkeep expenses                                                              4c.     $_ _ _ _-'1-=-oo=·-=-00=-
      4d. Homeowner's association or condominium dues                                                                   4d.     $_ _ _ _ _ _ _ __

Official Form 106J                                             Schedule J: Your Expenses                                                           page 1
                             Case 24-22209-LMI                      Doc 22       Filed 01/08/25        Page 4 of 8

 Debtor 1         GLORIA                      STELLA               RAMIREZ                 Case number(tknown> 24-22209-LMI
                  Fnt Name      Mldtle Name        Last Name




                                                                                                                       Your expenses


                                                                                                                   $
  5. Additional mortgage payments for your residence, such as home equity loans                             5.


  6. Utilities:

      6a.   Electricity, heat, natural gas                                                                  6a.    $                   150.00
      6b.   Water, sewer, garbage collection                                                                6b.    $
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                    60.00
      6d.   Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        6d.    $

  7. Food and housekeeping supplies                                                                         7.     $                   600.00
  8. Childcare and children's education costs                                                               8.     $

  9. Clothing, laundry, and dry cleaning                                                                    9.     $

10.   Personal care products and services                                                                   10.    $                    20.00
11.   Medical and dental expenses                                                                           11 .   $

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                   $                   100.00
      Do not include car payments.                                                                          12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $
14.   Charitable contributions and religious donations                                                      14.    $                    20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.   $

      15b. Health insurance                                                                                 15b.   $
      15c. Vehicle insurance                                                                                15c.   $                   150.00
      15d. Other insurance. Specify:_ _ _ _ _ __ _ _ _ _ _ _ _ _ __                                         15d.   $


16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: _ _ _ _ _ __ _ __ _ _ __ _ _ _ _ _ _ _ __                                                    16.    $

17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                       17a.   $

      17b. Car payments for Vehide 2                                                                        17b.   $

      17c. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                          17c.   $
      17d. Other. Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                            17d.   $

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 1061).                                      18.
                                                                                                                   $

19.   Other payments you make to support others who do not live with you.
      Specify:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __                                                    19.   $

20. Other real property expenses not Included In lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                      20a.   $

      20b. Real estate taxes                                                                                20b.   $

      20c. Property, homeowner's, or renter's insurance                                                     20c.   $
      20d. Maintenance, repair, and upkeep expenses                                                         20d.   $

      20e. Homeowners association or condominium dues                                                       20e.   $


Official Form 106J                                             Schedule J: Your Expenses                                                 page2
                            Case 24-22209-LMI                    Doc 22         Filed 01/08/25             Page 5 of 8


 Debtor 1      GLORIA                      STELLA               RAMIREZ                       Case number (Kknownl 24-22209-LMI
                Fnt Name      MklcleNane         LaslName




21. other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                 21 .   +$_ _ _ _ _ _ _o_.o_o_


22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                            22a.      $_ _ _ _2_,9_0_0_
                                                                                                                                      .o_o
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                    22b.      $_ _ _ _ _o_
                                                                                                                                  .o_o
     22c. Add line 22a and 22b. The result is your monthly expenses.                                         22c.      $_ _ _----"2'-'-'
                                                                                                                                     ,9-'-o-'-o-'-.o-'-o


23. Calculate your monthly net income.
                                                                                                                               2,_90_0_.o_o_
                                                                                                                        $_ _ _ _
   23a.     Copy line 12 (your combined monthly income) from Schedule I.                                      23a.

   23b.     Copy your monthly expenses from line 22c above.                                                   23b.    -$ _ _ _ _2...;..,9
                                                                                                                                        _0_0_.o_o_

   23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                        $_ _ _ _ _o_.o_o_
            The result is your monthly net income.                                                            23c.




24. Do you expect an Increase or decrease In your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   if No.
    □ Yes.        Explain here:




Official Form 106J                                          Schedule J : Your Expenses                                                          page 3
                                    Case 24-22209-LMI                  Doc 22                           Filed 01/08/25                     Page 6 of 8

Fill in this information to identify your case:

Debtor1
                   First Name              Middle Name              Last Name

Debtor 2
(Spouse, ~ filing) Flrat Name              Middle Name              Lest Name


United States Bankruptcy Court for the: _____ District of _ _ _ __
Case number
(If known)
                                                                                                                                                         D Check if this is an
                                                                                                                                                            amended fi ling



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                  12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        0 No
        0 Yes.        Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Bankruptcy Petition Preparers Notice, Declaration, and
                                                                                                                  Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with th is declaration and
        that they are true and correct.




                                                         ,,
                                                                   X
                                               K N / J?. t;;:z.
                                                   ,&                   Signatu re ofDebtor 2


                                                                        Date
                                                                                -,-
                                                                                 M,,-M,..,/_D,,..,D,......,/--,-YccYY,.,,Y-,--




   Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
            Case 24-22209-LMI      Doc 22    Filed 01/08/25    Page 7 of 8




                       LIMITED POWER OF ATTORNEY



BE IT KNOWN that GLORIA STELLA RAMIREZ has made and appointed, and

by these presents does make and appoint CARMEN CECILIA OROPESA       true and lawful

attorney for her and in her name, place and stead, for the following specific and

limited purposes only:

1.-To prepare, execute and to file all required papers and instruments which are

necessary for an effective filing under the United States Bankruptcy Code, and the

pertinent state law.

2.-To do all acts and to prepare and sign all documents necessary for the filing,

handling and completion thereof, including without limitation (a) Signing the

petition, schedules and other documents necessary to effect the filing.

3.-To attend the meeting of Creditors of the Debtor or any adjournment thereof

And to vote in my behalf on any question that may be lawfully submitted to

creditors at such meeting or adjourned meeting, and for a Trustee or Trustees of the

Estate of the Debtor .

Giving and granting said attorney, full power, and authority to do and perform all

and every act and thing whatsoever necessary to be done in and about the specific

and limited premises (set out herein) as fully, to all intents and purposes, as might

or could be done if personally present, with full power of substitution and



                                      1
                            Case 24-22209-LMI                              Doc 22   Filed 01/08/25             Page 8 of 8




    I.

revocation, hereby ratifying·and colifuming all that said. attorney shall lawfully do

or cause to be done hy virtue h ereof.


 IN ~ S-S WHEREOF,_I have hereunto set my hand and seal this                                                                         ,//          day
 of - _- ti. -H-b e.r ; 2024.
Sig:o_ed, sealed and delivered in the p1·esence of:



 Witness


-. Witness
                          rr_ j        '    J
 State of _ _,_~--m- : - -'---r-'L--1--'d.
                 · --,,_                =""'4-.~=' - ' - - - - -


 County o:£'_ 1__,.._J_.e,,
                        _ __ _

 The foregoing in9trtunent was ac ;. wled"ged by_rp~ thi~ _ _____/2_ _,g:7_
                                                                         ·. _ _ ____
 day of J/or,1.v,..IJ,er; 2024 by:   'Ctf!.rl,f,.-, 5-je,, ~ dN'Yl.r'n:!
 who is/are ~rsonally know;]) by . ~ or_ who has/hav~ pro uced:-'--~ -_ _ _ _ _ __
 _ __ _ _ _ ____ as identification and who did not take a,h
 oath.


                               N◊tary Public                       -. -_
                               St::i.teof                     '
                               ¥Y Comr,niss:i;on E~ires;                                    hm~'!- ~j NQtaryANA
                                                                                           ti •
                                                                                                    p~\         MARIA 6UJAN
                                                                                                              _ _   _
                                                                                                             Public. Statt- of Flortda
                                                                                            '·'1-om'rf.,·-'     Co1T1JT1isslon_# HH 477766    -
                                                                                               •.,.,....... - My Comqi. ;xpires Jan 7, 202B
                                                                                                        Bonded through _Nationar Notary Assn.




                                                                           2
